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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA

Clara Lewis Brockington,                  ) C/A No. 4:20-3270-RBH-TER
                              Plaintiff,  )
vs.                                       )
                                          )
Kimbrell's Furniture of Florence,         )      ORDER
Mike Ellis, Store Manager,                )
Kimbrell's Corporate Office,              )
Terry Peters, Vice President,             )
Carol Faircloth, Regional Manager,        )
Cindy Morrison, Credit Manager,           )
Fortegra Insurance Co. Life of South,     )
Vivian Gohertry, Claims Dept.,            )
Fast Furniture Repairs,                   )
Ron Easley, Store Manager,                )
Rick S. Kahlbaugh, CEO Fortegra Life,     )
                              Defendants. )
_________________________________________ )

        This is a civil action filed by a pro se litigant. Under Local Civil Rule 73.02(B)(2) of the
United States District Court for the District Court of South Carolina, pretrial proceedings in this
action have been referred to the assigned United States Magistrate Judge.

PAYMENT OF THE FILING FEE:
       Plaintiff’s Motion for Leave to Proceed in forma pauperis was granted by order of this
court on September 21, 2020. (ECF No. 8).

TO THE CLERK OF COURT:

        The above-captioned case is subject to summary dismissal. Hence, the Office of the
Clerk of Court is directed not to issue any summons at this time in the above-captioned case,
unless instructed by a United States District Judge or a Senior United States District Judge to do
so.

TO PLAINTIFF:

        Plaintiff must place the civil action number listed above on any document provided to the
Court provided in connection with this case. Any future filings must be sent to the address
below. All documents requiring Plaintiff’s signature shall be signed with Plaintiff’s full legal
name written in Plaintiff’s own handwriting. Pro se litigants, such as Plaintiff, shall not use the
“s/typed name” format used in the Electronic Case Filing System. In all future filings with this
Court, Plaintiff is directed to use letter-sized (8½ inches by 11 inches) paper only, to write or
type text on one side of a sheet of paper only and not to write or type on both sides of any sheet
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of paper. Plaintiff is further instructed not to write to the edge of the paper, but to maintain one-
inch margins on the top, bottom, and sides of each paper submitted.

          Plaintiff is a pro se litigant. Plaintiff’s attention is directed to the following important
notice:

    You are ordered to always keep the Clerk of Court advised in writing (Post Office Box
    2316, Florence, South Carolina 29503) if your address changes for any reason, so as
    to assure that orders or other matters that specify deadlines for you to meet will be
    received by you. If as a result of your failure to comply with this Order, you fail to
    meet a deadline set by this Court, your case may be dismissed for violating this Order.
    Therefore, if you have a change of address before this case is ended, you must comply
    with this Order by immediately advising the Clerk of Court in writing of such change of
    address and providing the Court with the docket numbers of all pending cases you have
    filed with this Court. Your failure to do so will not be excused by the Court.



IT IS SO ORDERED.


                                                               s/ Thomas E. Rogers, III
                                                               Thomas E. Rogers, III
                                                               United States Magistrate Judge
October 19, 2020
Florence, South Carolina




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